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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


ELIZABETH ESCOBEDO, Individually and                                          PLAINTIFF
on Behalf of all Others Similarly Situated


vs.                               No. 4:22-cv-538-LHR


ACE GATHERING, INC.                                                        DEFENDANT


                  NOTICE OF CHANGE OF LAW FIRM AFFILIATION

       PLEASE TAKE NOTICE that Colby Qualls, counsel for Plaintiff in the above-

captioned matter, is no longer affiliated with Sanford Law Firm, PLLC. Colby Qualls is

now affiliated with the law firm of Forester Haynie, PLLC, located at 400 North Saint Paul

Street, Suite 700, Dallas, Texas, 75201, telephone: (214) 210-2100. Colby Qualls shall

remain counsel of record on behalf of Plaintiff Elizabeth Escobedo, individually and on

behalf of all others similarly situated, in the above-captioned matter.
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                                             Respectfully submitted,

                                             ATTORNEY COLBY QUALLS

                                             FORESTER HAYNIE, PLLC
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                                             /s/ Colby Qualls__________
                                             Colby Qualls
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                              CERTIFICATE OF SERVICE

      I, the undersigned counsel, do hereby certify that on the date imprinted by the
CM/ECF system, a copy of the foregoing NOTICE was filed via the CM/ECF system,
which will provide notice to the following attorneys of record:

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                                             /s/ Colby Qualls_________
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